        Case 19-31896 Document 9 Filed in TXSB on 04/24/19 Page 1 of 1
                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS

In Re:                                             §
Trinton Thomas Reed                                §        Case No.: 19−31896                             ENTERED
       Debtor.                                     §        Chapter: 7                                     04/24/2019


                                      ORDER OF DISMISSAL

        Appropriate notice having been given that the case would be dismissed without further notice
if the debtor failed to comply with the Deficiency Order issued in this case, and the Clerk having
informed the Court that the debtor has failed to satisfy the deficiencies as set out in the docket entry
for this order,

      IT IS ORDERED that this case is dismissed.

        IT IS FURTHER ORDERED that the debtor is barred from filing a new bankruptcy case
until the filing fee for this case is paid in full.

      Signed and Entered on Docket: 4/24/19.
